Case: 1:12-cv-00482-TSB Doc #: 29 Filed: 09/11/13 Page: 1 of 2 PAGEID #: 575

UNITED STATES COURT OF APPEALS

FOR THE SIXTH CIRCUIT
100 EAST FIFTH STREET, ROOM 540
Deborah S. Hunt POTTER STEWART U.S. COURTHOUSE
Clerk CINCINNATI, OHIO 45202-3988

Filed: September 10, 2013

John P. Hehman

Southern District of Ohio at Cincinnati
100 E. Fifth Street

Suite 103 Potter Stewart U.S. Courthouse
Cincinnati, OH 45202-0000

Tel. (513) 564-7000
www.ca6.uscourts.gov

Re: Case No. 12-4444, Henry Stanley, Jr. v. Colleen Arnold, et al

Originating Case No. : 1:12-cv-00482

Dear Clerk,

Enclosed is a copy of the mandate filed in this case.

Sincerely yours,

s/Bryant L. Crutcher

Case Manager
Direct Dial No. 513-564-7013

ce: Ms. Marjorie P. Duffy
Mr. Jeffrey S. Goldenberg
Mr. Corey Adam Goldsand
Mr. James T. Kennard
Mr. Todd B. Naylor
Mr. John M. Newman Jr.
Mr. Marc A. Rigrodsky
Mr. Seth D. Rigrodsky
Mr. Geoffrey John Ritis
Ms. Gina M. Serra

Enclosure
Case: 1:12-cv-00482-TSB Doc #: 29 Filed: 09/11/13 Page: 2 of 2 PAGEID #: 576

UNITED STATES COURT OF APPEALS
FOR THE SIXTH CIRCUIT

No: 12-4444

Filed: September 10, 2013

HENRY STANLEY, JR.
Plaintiff - Appellant

V.

COLLEEN F. ARNOLD; GEORGE S. BARRETT; GLENN

A. BRITT; CARRIE S. COX; CALVIN DARDEN; BRUCE L.
DOWNEY; JOHN F. FINN; DAVID P. KING; RICHARD C.
NOTEBAERT; DAVID W. RAISBECK; JEAN G. SPAULDING;
DAVE BING; R. KERRY CLARK; GEORGE H. CONRADES;
PHILIP L. FRANCIS; JOHN F. HAVENS; J. MICHAEL LOSH;
JOHN B. MCCOY; MICHAEL O'HALLERAN; MATTHEW D.
WALTER; ROBERT D. WALTER; CARDINAL HEALTH, INC.;
GREGORY B. KENNY

Defendants - Appellees.

MANDATE
Pursuant to the court's disposition that was filed 08/14/2013 the mandate for this case hereby

issues today.

COSTS: None
